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5
     Attorney for Defendant
6    MERCEDEZ SILVA-SIMS

7
                                IN THE UNITED STATES DISTRICT COURT
8
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                     Case No. 2:17-CR-0234 TLN
11
                       Plaintiff,                   STIPULATION AND ORDER TO CONTINUE
12                                                  STATUS CONFERENCE
              v.
13
      MERCEDEZ SILVA-SIMS,                           DATE:          February 27, 2020
14                                                   TIME           9:30 a.m.
                       Defendant.                    JUDGE:         Hon. Troy L. Nunley
15
16           By this stipulation, the parties move to continue the status conference for MERCEDEZ
17   SILVA-SIMS until March 26, 2020, and to exclude time between February 27, 2020 and March
18   26, 2020, under Local Code T4.
19           The parties agree and stipulate, and request that the Court find the following:
20           a.      The government has produced additional discovery which defense counsel will
21   need further time to review, discuss with the defendant and to pursue investigation. Defense
22   counsel and the government are continuing their pre-trial discussions toward a possible
23   resolution. Additionally, Mr. Fischer has been in trial in state court.
24           b.      Defense counsel believes that failure to grant the above-requested continuance
25   would deny counsel the reasonable time necessary for effective preparation, taking into account
26   the exercise of due diligence. A continuance is also necessary to ensure continuity of counsel for
27   Ms. Silva-Sims.
28           c.      Based on the above-stated findings, the ends of justice served by continuing the
      Stipulation and Order                           -1-
      to Continue Status Conference
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1    case as requested outweigh the interest of the public and the defendants in a trial within the
2    original date prescribed by the Speedy Trial Act.
3            d.      For the purposed of computing time under the Speedy Trial Act, 18 U.S.C. §
4    3161, et seq., within which trial must commence, the time period of February 27, 2020 to March
5    26, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local
6    Code T4] because it results from a continuance granted by the Court at defendant’s request on
7    the basis of the Court’s finding that the ends of justice served by taking such action outweigh the
8    best interest of the public and the defendants in a speedy trial.
9            Nothing in this stipulation and order shall preclude a finding that other provisions of the
10   Speedy Trial Act dictate that additional time periods are excludable from the period within which
11   a trial must commence.
12   DATED: February 25, 2020                       /s/ David D. Fischer
                                                    DAVID D. FISCHER
13                                                  Attorney for Randy Lee Collins
14
     DATED: February 25, 2020                       MCGREGOR W. SCOTT
15                                                  United States Attorney
16
                                                    /s/ Justin Lee
17                                                  Justin Lee
                                                    Assistant United States Attorney
18                                                  Attorney for Plaintiff
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      Stipulation and Order                           -2-
      to Continue Status Conference
      Case 2:17-cr-00234-TLN Document 129 Filed 02/26/20 Page 3 of 3



1                                                  ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendant in a speedy trial.
8            The Court orders a status conference on March 26, 2020, at 9:30 a.m. The Court orders
9    the time from February 27, 2020 up to and including March 26, 2020, excluded from
10   computation of time within which the trial of this case must commence under the Speedy Trial
11   Act, pursuant to 18 U.S.C. §§3161(h)(7), and Local Code T4.
12
13   Dated: February 25, 2020
14
15                                                                Troy L. Nunley
                                                                  United States District Judge
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      Stipulation and Order                           -3-
      to Continue Status Conference
